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                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF MASSACHUSETTS


UNITED STATES OF AMERICA     )
                             )
                             )
    v.                       )                       Criminal No. 21-cr-10010-FDS
                             )
DANYBELKIS VASQUEZ-RODRIGUE, )
                             )
          Defendant          )

                               GOVERNMENT'S EXHIBIT LIST

         The United States of America, by its attorneys, United States Attorney Rachael S. Rollins,

and Assistant U.S. Attorneys Alathea E. Porter and Stephen W. Hassink, hereby submits this list

of exhibits that it intends to introduce or mark for identification during its case-in-chief. The

government reserves the right to supplement or modify this list with reasonable notice to the

defendant. The government also reserves the right to supplement or modify this list in light of the

evidence admitted at trial.

  Exhibit No.                                       Description

 1-45
                  Calls and Texts Between CW-2 and Dany (USAO-000290 – USAO-000334)
 46
                  2020.11.24 Kilo Fentanyl Buy Video (USAO-000281)
 47-48
                  2020.12.30 $32,000 Money Drop Video (USAO-000287 and USAO-000289)
 49-51            Jail Calls (Specifically call sessions 126, 131, and 307 from 12/16/2020 and
                  12/31/2020) (USAO-000279)
 52-82            Photographs from search of 4 Winthrop Ave, Lawrence, MA
                  (USAO-000209 – USAO-000239)
 83               Extraction of Samsung Phone belonging to Danybelkis Vasquez-Rodrigue
                  (USAO-VASQ-002020)
 84               Extraction of iPhone belonging to Danybelkis Vasquez-Rodrigue
                  (USAO-000477)
 85
                  1 Kilogram of Fentanyl (from 2020.11.24 Buy) (USAO-000174)
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 85.1
               Lego manual wrapped around kilogram of fentanyl
 85.2
               Brown paper bag kilogram of fentanyl was stored in
 86
               Cocaine seized during search of 4 Winthrop Ave, Lawrence, MA
 87
               Digital scale seized during search of 4 Winthrop Ave, Lawrence, MA
 88
               Blender seized during search of 4 Winthrop Ave, Lawrence, MA
 89
               Lactose container seized during search of 4 Winthrop Ave, Lawrence, MA
 90
               Orange cup seized during search of 4 Winthrop Ave, Lawrence, MA
 91
               Wooden box seized during search of 4 Winthrop Ave, Lawrence, MA
 92
               Notebook/ledge seized during search of 4 Winthrop Ave, Lawrence, MA
 93
               Stipulations




                                                Respectfully submitted,

                                                RACHAEL S. ROLLINS
                                                United States Attorney

                                            By: _/s/ Alathea E. Porter______
                                                ALATHEA E. PORTER
                                                STEPHEN W. HASSINK
                                                Assistant U.S. Attorneys

Date: August 3, 2022




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                                 CERTIFICATE OF SERVICE

        I hereby certify that this document filed through the ECF system will be sent
electronically to the registered participants as identified on the Notice of Electronic Filing (NEF).


                                                      _/s/ Alathea E. Porter______
                                                      ALATHEA E. PORTER
                                                      Assistant U.S. Attorney

Date: August 3, 2022




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